                                                                       ____ FILED   ___ ENTERED
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                                                                 9 LOGGED _____ RECEIVED
                                                               12:05 pm, Nov 30 2021
                                                                       AT BALTIMORE
                                                                       CLERK, U.S. DISTRICT COURT
                   IN THE UNITED STATES DISTRICT COURT                 DISTRICT OF MARYLAND
                                                                       BY ______________Deputy
                   FOR THE DISTRICT COURT OF MARYLAND


IN THE MATTER OF THE                 )        No.    1:21-mj-2690 TMD
ADMINISTRATIVE INSPECTION OF         )
CORRECT RX PHARMACY SERVICES         )
1352 CHARWOOD ROAD, SUITE C          )
HANOVER, MARYLAND 21076              )


         APPLICATION AND AFFIDAVIT FOR ADMINISTRATIVE
WARRANT UNDER THE CONTROLLED SUBSTANCES ACT, 21 U.S.C. § 880(d)

     1.    This    affidavit   seeks          an    administrative   inspection

warrant, pursuant to the Controlled Substances Act, 21 U.S.C.

§§ 880 et seq., of the current place of business of Correct Rx

Pharmacy Services, located at 1352 Charwood Road, Suite C, Hanover,

Maryland   21076   (“Correct   Rx”       or    the    “Controlled    Premises”).

Pursuant to 21 U.S.C. § 880(b)(1), the purpose of this inspection

is to verify the correctness of controlled substance inventories,

records, reports, and other documents required to be kept under

the Controlled Substances Act and to protect the public health and

safety.

     2.    21 U.S.C. § 880(d)(1) provides:

          Any judge of the United States or of a State court
     of record, or any United States magistrate judge, may,
     within his territorial jurisdiction, and upon proper
     oath or affirmation showing probable cause, issue
     warrants for the purpose of conducting administrative
     inspections authorized by this subchapter or regulations
     thereunder, and seizures of property appropriate to such
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      inspections. For the purposes of this section, the term
      “probable cause” means a valid public interest in the
      effective enforcement of this subchapter or regulations
      thereunder   sufficient   to   justify   administrative
      inspections of the area, premises, building, or
      conveyance, or contents thereof, in the circumstances
      specified in the application for the warrant.

Based on the facts set forth as follows, I believe there is

probable cause1 for the requested warrant.

          3. That the Affiant, Monica L. Smoak, is a duly appointed

    Diversion Investigator of the Drug Enforcement Administration

    (DEA), United States Department of Justice, assigned to the

    Baltimore, Maryland District Office.

          4. That in July 2009 the Affiant was hired by the DEA, and

    during her employment with the DEA, has been an affiant on

    administrative inspection affidavits on at least one occasion

    and    has   participated     in   the   service    and   execution        of

    administrative inspection warrants on at least two occasions.

    The affiant received training in the manufacture, distribution,

    and   dispensation    of   controlled    substances,   including      those

    controlled substances dispensed through registered pharmacies,

    and the corresponding records and inventories that are required




1    Probable cause in the traditional criminal-law sense is not
required to support the issuance of an administrative inspection
warrant. See, e.g., United States v. Nechy, 827 F.2d 1161, 1163-
64 (7th Cir. 1987); United States v. Merkosky, No. 1:02-cr-00168,
2008 WL 5169640, at *15 (N.D. Ohio Dec. 9, 2008).
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pursuant to the Comprehensive Drug Abuse Prevention and Control

Act of 1970 (Public Law 91-513).

       5. That     pursuant    to     21   U.S.C.     §§     878(a)(2)           and

880(b)(1),(2), and (3), and 21 Code of Federal Regulations

(C.F.R.) Appendix to Subpart R, the Affiant is authorized to

execute      administrative      inspection      warrants         to      inspect

controlled premises of persons and firms registered under the

Controlled Substances Act, to inspect and verify the correctness

of all records, reports, and other documents required to be kept

or made under 21 U.S.C.               § 827, and 21 C.F.R. § 1304.01.

Specifically, the Controlled Substances Act authorizes the DEA

to conduct administrative inspections to:           (1) inspect and copy

records, reports, and other documents required to be kept or

made    under   the   Controlled    Substances   Act;      (2)    inspect        the

controlled premises, all pertinent equipment, drugs, and other

substances or materials, containers, and labeling found therein

(including records, files, papers, processes, controls, and

facilities)      appropriate    for    verification     of       the     records,

reports, and documents, or otherwise bearing on the Controlled

Substances Act; and (3) inventory the stock of any controlled

substance and obtain samples of such substance.              See 21 U.S.C §

880(b)(3).

       6. That certain prescription drugs, such as narcotics,

stimulants, depressants, hallucinogens, and anabolic steroids
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are scheduled substances under the Controlled Substances Act.

Drugs   and     other    substances        that   are    considered   controlled

substances under the CSA are divided into five schedules (I,

II, III, IV, and V).           Substances are placed in their respective

schedules     based     on     whether   they     have   a   currently     accepted

medical use in treatment in the United States and their relative

abuse   potential       and     likelihood      of    causing   dependence        when

abused.

       7. That Correct Rx is registered under the provisions of

the   Controlled        Substances       Act    and   has    been   assigned       DEA

Registration Number BC8273120, authorized to handle controlled

substances in Schedules II-V, and is conducting business at 1352

Charwood Road, Suite C, Hanover, Maryland 21076.

       8. That the said place of business located at 1352 Charwood

Road, Suite C, Hanover, Maryland 21076 is a controlled premises

within the meaning of 21 U.S.C. § 880(a)(1) and (2), and 21

C.F.R. § 1316.02(c)(1) and (2).                As such, That Correct Rx must

keep complete and accurate records of all controlled substances

received, sold, prescribed, dispensed, purchased, delivered or

otherwise disposed of pursuant to 21 U.S.C. § 827 and 21 C.F.R.

§§    1304.01    et     seq.    on   the    Controlled       Premises,     and     the

inspection of the Controlled Premises is designed to ensure
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    compliance    with     the    Controlled       Substances     Act    and      its

    regulations.2

         9. The     DEA    operates     the    Automation    of    Reports        and

    Consolidated Orders System (“ARCOS”), a drug reporting system

    through   which    DEA-registered       manufacturers    and   distributors

    report the sale or distribution of Schedule I, Schedule II, and

    narcotic controlled substances in Schedule III.                  A review of

    the ARCOS database reveals that Correct Rx ranks among the

    highest   purchasing       pharmacies     of   certain   ARCOS      reportable

    controlled substances in Baltimore DEA’s area of responsibility

    (which    covers     the   entire   State      of   Maryland     except       for

    Montgomery, Prince George’s, Charles, St. Mary’s, and Calvert

    counties) in the previous few years, including:




2    The Controlled Substances Act provides for the inspection of
items such as records, files, and papers, the maintenance of which
is not required under the Controlled Substances Act, but which is
appropriate for the verification of the requirements of the
Controlled Substances Act. See 21 U.S.C. § 880(b)(3)(B). Although
the Controlled Substances Act does not explicitly provide for
copying of items listed under 21 U.S.C. § 880(b)(3)(B), the Affiant
requests that the Court authorize the copying (and seizure if
necessary for copying) such items to verify appropriately the
records that must be kept under 21 U.S.C. § 880(b)(3)(A). Further,
if the relevant items are to be copied at the same time, it will
allow DEA to more quickly, efficiently, and thoroughly inspect the
Controlled Premises, and minimize disruption of pharmacy business.
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                                               Number of
    Year       Name of Drug     Schedule     Total Dosage         Rank
                                                 Units
    2020         Methadone          II          249,300              #1

               Buprenorphine       III          264,926              #2

                  Codeine          III          138,900              #1

    2019         Methadone          II          315,800              #1

               Buprenorphine       III          136,554              #7

                  Codeine          III          90,900               #1

    2018         Methadone          II          329,700              #1

                  Codeine          III          55,800               #1



     10.   Finally, the DEA has never inspected the Controlled

Premises. Courts “have held that there is probable cause to issue

a warrant if the warrant affidavit alleges ... that the regulated

pharmacy has never previously been inspected ....”        In re Searches

& Seizures Conducted on Oct. 2, & 3, 1980, 665 F.2d 775, 777 (7th

Cir. 1981); see also United States v. Osborne, 512 F. Supp. 413,

414 (E.D. Tenn. 1980).

     11.   That the Affiant further states that in view of the

foregoing circumstances, the inspection contemplated herein is

requested to protect the public health and safety, and results

from a valid public interest in the effective enforcement of the

Controlled Substance Act and implementing regulations.
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      12.   The Affiant further states that the inspection will be

conducted between the hours of 8:00 a.m. and 7:00 p.m., Monday

through Friday, and that the Investigator's credentials will be

presented to the registrant, and that the inspection will begin as

soon as practicable after the issuance of the warrant and will be

completed with reasonable promptness and that the warrant will be

returned within ten (10) days.

      13.   The Affiant further states that, pursuant to 21 U.S.C.

§ 827, and 21 U.S.C. § 880(b)(3)(A), the inspection will extend to

the   inspection   and   copying    of   inventories     (perpetual       and

biennial), records, reports, prescriptions, order forms, invoices,

files (to include electronically stored or computerized records

and files), and other documents required to be kept, and to the

inspection of all other things herein, including records, files,

and paper appropriate for verifying the records, reports, and

documents required to be kept under or otherwise related to

compliance with the Controlled Substances Act, including ordered

material drug lists of supplies and suppliers, DEA Form-41s, 106s,

and 222s, prescriptions, computerized records of purchase and

distribution, and to the extent not covered by the foregoing, all

prescriptions and other records which refer to or relate to the

receipt,    dispensation,    administration,      or   distribution         of

controlled substances.
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       14.   The Affiant further states that, pursuant to 21 U.S.C.

§ 880(b)(3)(B), the inspection will extend to the inspection and

copying (where applicable and if authorized) of the Controlled

Premises, equipment, drugs, containers, and labeling, and all

other things in the Controlled Premises including records, files,

and papers, processes, controls, and facilities appropriate for

the verification of compliance with the Controlled Substances Act

such    as    written     and     electronic         correspondence       regarding

maintenance of inventories, theft or loss reports, communications

related to Correct Rx’s compliance with the Controlled Substances

Act,    written     policies      procedures          and   training      regarding

maintenance of inventories, perpetual and biennial inventories,

internal     audits,    and   manuals       or    written   material      describing

computer programs or other procedures used by Correct Rx’s to

maintain inventories of controlled substances appropriate for the

verification of the records, reports, and documents required to be

kept under or otherwise related to compliance with the Controlled

Substances Act.

       15.   The   Affiant      will   be        accompanied   by   one    or      more

Investigators who are employees of the Attorney General authorized

to conduct administrative inspections and one or more DEA Diversion

Task Force Officers assigned to the Baltimore District Tactical

Diversion Squad.        A return will be made to this Magistrate upon

the completion of the inspection.            The Affiant further states that
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she has verified and has knowledge of the facts alleged in this

affidavit, and that they are true to the best of her knowledge.

                              _____________________________________
                               Monica L. Smoak
                              Diversion Investigator
                              Drug Enforcement Administration




        Affidavit submitted by email and attested to me as true
        and accurate by telephone consistent with Title 21,
        United States Code, §880(d) on this _____day
                                             24      of
        __________
         September 2021.



_________________________________
United States Magistrate Judge
District of Maryland
